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       Attorney for Debtors
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   8
                                 UNITED STATES BANKRUPTCY COURT
   9
                                 NORTHERN DISTRICT OF CALIFORNIA
  10
                                           OAKLAND DIVISION
  11

  12                                                     )   Case No.     13-41687-CN-13
                                                         )
  13                                                     )   Chapter 13
                                                         )
  14   Eric Robert Green                                 )   OPPORTUNITY FOR HEARING ON
       Kathryn Kaye Green,                               )   FINAL ORDER ON MOTION TO
  15                                                     )   VALUE COLLATERAL OF WELLS
                     Debtors.                            )   FARGO BANK, NA AS SUCCESSOR
  16                                                     )   IN INTEREST TO WACHOVIA AS
                                                         )   SUCCESSOR IN INTEREST TO
  17                                                     )   WORLD SAVINGS BANK (SECOND
                                                         )   DEED OF TRUST) UNDER § 506 AND
  18                                                     )   FRBP 3012
                                                         )
  19                                                     )
  20   TO: THE COURT, CREDITORS, AND PARTIES IN INTEREST:

  21       OPPORTUNITY FOR HEARING ON FINAL ORDER ON MOTION TO VALUE

  22    COLLATERAL OF WELLS FARGO BANK, NA AS SUCCESSOR IN INTEREST TO

  23   WACHOVIA AS SUCCESSOR IN INTEREST TO WORLD SAVINGS BANK (SECOND

  24                          DEED OF TRUST) UNDER §506 AND FRBP 3012

  25          Please take notice the Debtors seek to file a Final Order on Motion to Value Collateral of

  26   Wells Fargo Bank, NA as Successor in Interest to Wachovia as Successor in Interest to World

  27   Savings Bank (Second Deed of Trust) under § 506 and FRBP 3012.

  28
       OPPORTUNITY FOR HEARING ON FINAL ORDER ON MOTION TO VALUE COLLATERAL OF WELLS
       FARGO BANK, NA AS SUCCESSOR IN INTEREST TO WACHOVIA AS SUCCESSOR IN INTEREST TO
       WORLD SAVINGS BANK (SECOND DEED OF TRUST) UNDER § 506 AND FRBP 3012
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   1
              Such Order seeks a permanent voidance of the lien of Wells Fargo Bank, NA as
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       Successor in Interest to Wachovia as Successor in Interest to World Savings Bank (Second Deed
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       of Trust) which is currently attached as a second deed of trust against the Debtors’ residence
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       located at 724 Shumardi Oak Court, Brentwood, CA 94513.
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              PLEASE TAKE NOTICE that pursuant to the Guidelines for Valuing and Voiding Liens
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       for the Northern District of California which prescribes the procedures to be followed and that
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       any objection to the requested relief, or a request for hearing on the matter must be filed and
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       served upon the requesting party within 7 days of mailing of the notice;
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              That a request for hearing or objection must be accompanied by any declarations or
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       memoranda of law the party objecting or requesting wishes to present in support of its position;
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              That if there is not a timely objection to the requested relief or a request for hearing, the
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       court may enter a Final Order on Motion to Value Collateral under § 506 and FRBP 3012
  13
       granting the relief by default; and
  14
              That the initiating party will give at least 7 days written notice of hearing to the objecting
  15
       or requesting party, and to any trustee or committee appointed in the case, in the event an
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       objection or request for hearing is timely made.
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                                                                     LAW OFFICE OF JOAN GRIMES
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  21   Dated: May 1, 2018                                            /s/ Joan M. Grimes
                                                                     Joan M. Grimes
  22                                                                 Attorney for Debtors
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       OPPORTUNITY FOR HEARING ON FINAL ORDER ON MOTION TO VALUE COLLATERAL OF WELLS
       FARGO BANK, NA AS SUCCESSOR IN INTEREST TO WACHOVIA AS SUCCESSOR IN INTEREST TO
       WORLD SAVINGS BANK (SECOND DEED OF TRUST) UNDER § 506 AND FRBP 3012
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